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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  WHOLE WOMAN’S HEALTH, et al.,

          Plaintiffs,

          v.                                         Civil Action No. 1:21-cv-00616-RP

  AUSTIN REEVE JACKSON, in his official
  capacity as Judge of the 114th District Court,
  and on behalf of a class of all Texas judges
  similarly situated, et al.,

          Defendants.

        ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR WITHDRAWAL
                               OF CO-COUNSEL

       ON THIS DAY, the Court considered Plaintiffs’ Motion for Withdrawal of Co-Counsel.

The Court is of the opinion that the same should be in all things granted.

       IT IS THEREFORE ORDERED that Julie Murray is withdrawn as counsel in this matter

and is hereby discharged from any further responsibility or action in this case.


       SIGNED on this __________ day of January, 2023.



                                             __________________________________
                                             THE HONORABLE ROBERT PITMAN
                                             United States District Judge for the
                                             Western District of Texas
